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                         IN THE UNITED STATED DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §                Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §                LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendants.                   §
  ___________________________________ §
                                      §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §                Case No: 2:15-cv-01863-JRG-RSP
                                      §
  vs.                                 §                CONSOLIDATED CASE
                                      §
  FUHU, INC.                          §
                                      §
        Defendants.                   §
  ___________________________________ §

        MOTION TO DISMISS DEFENDANT FUHU, INC. WITHOUT PREJUDICE

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Symbology

  Innovations, LLP (“Symbology”) files this Unopposed Motion to Dismiss Defendant Fuhu, Inc.

  Without Prejudice. Plaintiff notes that Defendants have filed neither an answer nor a motion for

  summary judgment.

         Wherefore, Plaintiff moves this Court to dismiss this action and all claims by Symbology

  against Fuhu, Inc. without prejudice, with each party to bear its own costs, attorneys’ fees and

  other litigation expenses and request that the Court enter the proposed order of dismissal submitted

  herewith.
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  Dated: June 16, 2016                         Respectfully submitted,


                                               /s/ Jay Johnson
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                                  CERTIFICATE OF SERVICE

  This is to certify that a true and correct copy of this document has been served on all counsel of
  record via electronic mail through Local Rule CV-5(a) on June 16, 2016.

                                               /s/ Jay Johnson
                                               Jay Johnson
